  8:06-cr-00142-JFB-FG3              Doc # 20   Filed: 05/09/06    Page 1 of 1 - Page ID # 29




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                          )
                                                   )
                        Plaintiff,                 )
                                                   )
                vs.                                )                 8:06CR142
                                                   )
MILAN ROBINSON,                                    )          SCHEDULING ORDER
                                                   )
                        Defendant.                 )




       IT IS ORDERED that the following is set for hearing on June 12, 2006 at 10:00 a.m.
before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L. Hruska U.S.
Courthouse, 111 So. 18th Plaza, Omaha, Nebraska:

         - Motion to Sever [18] filed by the defendant

         Since this is a criminal case, the defendant must be present, unless excused by the
Court.

         DATED this 9th day of May, 2006.

                                                BY THE COURT:


                                                s/ F.A. Gossett
                                                United States Magistrate Judge
